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                                                                    Last Known Contact
           Names                         Subjects
                                                                        Information
                             Defendants to acquire K-DNA;
                             Defendants’ due diligence, if any,
                             in connection with the acquisition;
                             K-DNA’s platform, business, and
                             technology; Defendants’ post-
                             acquisition business plans relating
                             to K-DNA as a subsidiary of FTX
                             Trading Ltd.; Defendants’ funding
                             of the acquisition.
                                External Professional Firms
                             The valuation of DAAG’s
                             intangible assets and liabilities
                             and the report entitled “ASC 805 330 N. Wabash Avenue
                             Valuation of Certain Assets of    Chicago, Illinois
BDO USA LLP
                             FTX Trading Ltd. for Financial 60611
                             Reporting Purposes,” dated April (312) 856-9100
                             7, 2022.

                             The creation of the 2021 audited 14 Pennsylvania Plaza #1800
Prager Metis International   financial statement of FTX          New York, New York
Group                        Trading Ltd.                        10122
                                                                 (212) 643-0099
                             The valuation of DAAG’s             20525 Center Ridge Road
Silicon Valley Accountants   goodwill and tangible assets and Suite 360
                             liabilities.                        Rocky River, Ohio
                                                                 44116
                                                                 398 S. Mill Avenue
Rivers & Moorehead PLLC      The valuation of DAAG.              Tempe, Arizona
                                                                 85281
                             The decision by Defendants to
                             acquire K-DNA, Defendants’
                             contemporaneous valuation of K-
                             DNA; Defendants’ due diligence, 43 Demostheni Severi Avenue
                             if any, in connection with the      CY-1080
PwC Cyprus                   acquisition; Defendants’ post-      Nicosia, Cyprus
                             acquisition business plans relating +357 22 555000
                             to K-DNA as a subsidiary of FTX
                             Trading Ltd.; Defendants’ funding
                             of the acquisition.
                             The decision to acquire DAAG; Taylor Wessing (US) Inc.
                             Plaintiffs’ contemporaneous     88 Kearny Street, Suite 1770
Taylor Wessing LLP
                             valuation of DAAG; negotiations San Francisco, California
                             with Defendants in connection   94108


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                                                                         Last Known Contact
            Names                            Subjects
                                                                             Information
                                with the acquisition; Plaintiffs’   (650) 666-8400
                                due diligence, if any, in
                                connection with the acquisition.
                                The decision to acquire DAAG; MLL Meyerlustenberger
                                Plaintiffs’ contemporaneous       Lachenal Froriep Ltd
                                valuation of DAAG; negotiations Schiffbaustrasse 2
MLL Legal AG                    with Defendants in connection     PO Box
                                with the acquisition; Plaintiffs’ 8031 Zurich
                                due diligence, if any, in         Switzerland
                                connection with the acquisition. +41 58 552 08 00
                                The decision to acquire DAAG; Annerton
                                Plaintiffs’ contemporaneous       Rechtsanwaltsgesellschaft
Annerton                        valuation of DAAG; negotiations mbH
Rechtsanwaltsgesellschaft       with Defendants in connection     Wöhlerstraße 5
GmbH                            with the acquisition; Plaintiffs’ 60323 Frankfurt a. M.
                                due diligence, if any, in         Germany
                                connection with the acquisition. +49 69 2043 689 -0
                                              Other(s)
                                The services provided by Kephas
                                to FTX Europe AG; the fees
Stephen Stephens                charged for such services; and the
CEO                             ownership structure and beneficial stephen@digitalassets.ag
Kephas Corp.                    owners of Kephas and its parents,
                                subsidiaries and affiliates.

               In addition to the persons identified above, Plaintiffs also identify all persons

named in Defendants’ initial disclosures pursuant to Rule 26(a)(1) in these Actions, as well as all

persons named in witness lists in these Actions and all individuals deposed in these Actions.

       B.      A copy—or description by category and location—of all documents,
               electronically stored information, and tangible things that the disclosing party
               has in its possession, custody, or control and may use to support its claims or
               defenses, unless the use would be solely for impeachment.

               Based on current information, Plaintiffs have identified the following categories of

documents, electronically stored information, and tangible things that Plaintiffs have in their

possession, custody, or control and may use to support their claims, other than solely for



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impeachment purposes. Plaintiffs expressly reserve the right to identify and use documents from

additional categories if, in the course of discovery and investigation relating to this action,

Plaintiffs learn that such additional categories contain relevant documents or if they are requested

by any party in discovery.

                1.     Documents and communications regarding Plaintiffs’ relationship with

individuals and entities that sold shares of DAAG.

                2.     Documents and communications regarding Plaintiffs’ acquisition of

DAAG.

                3.     Documents and communications regarding DAAG’s business prior to its

acquisition.

                4.     Documents and communications regarding FTX Europe AG f/k/a DAAG’s

operations and performance following its acquisition.

                5.     Documents and communications concerning the services provided by

Kephas Corporation to Plaintiffs.

                6.     Documents and communications concerning DAAG’s acquisition of K-

DNA Financial Services Ltd.

                7.     Documents and communications regarding the potential sale of FTX

Europe AG following Plaintiffs’ initiation of these Chapter 11 cases.

                Documents Plaintiffs may use to support their claims are currently located at the

office of its counsel, Sullivan & Cromwell LLP, at 125 Broad Street, New York, New York 10004.

Plaintiffs reserve all objections to producing material subject to the attorney-client privilege or

work product protection and to producing other confidential material in the absence of a suitable

protective order.




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       C.       A computation of each category of damages claimed by the disclosing party—
                who must also make available for inspection and copying as under Rule 34 the
                documents or other evidentiary material, unless privileged or protected from
                disclosure, on which each computation is based, including materials bearing
                on the nature and extent of injuries suffered.

                Pursuant to Rule 26(a)(1)(A)(iii) of the Federal Rules of Civil Procedure, Plaintiffs

seek to recover the value of fraudulent transfers and preferential transfers made by Plaintiffs to the

Defendants, plus the value of any additional avoidable transfers that Plaintiffs learn, through

discovery or otherwise, were made to the Defendants during the applicable avoidance period, as

set forth in Exhibit A of the Complaint. Plaintiffs reserve the right to supplement, revise, clarify,

correct or otherwise amend this response in the event they assert claims for alternative damages in

the Actions.

       D.       For inspection and copying as under Rule 34, any insurance agreement
                under which an insurance business may be liable to satisfy all or part of a
                possible judgment in the action or to indemnify or reimburse payments made
                to satisfy the judgment.

                Plaintiffs will produce any potentially applicable insurance agreement(s) in

discovery in the Actions, without conceding the applicability of such agreement(s).

Dated: September 27, 2023                    LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                             /s/ Matthew B. McGuire
                                             Adam G. Landis (No. 3407)
                                             Matthew B. McGuire (No. 4366)
                                             Kimberly A. Brown (No. 5138)
                                             Matthew R. Pierce (No. 5946)
                                             919 Market Street, Suite 1800
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 467-4400
                                             Facsimile: (302) 467-4450
                                             E-mail: landis@lrclaw.com
                                                     mcguire@lrclaw.com
                                                     brown@lrclaw.com
                                                     pierce@lrclaw.com

                                             -and-



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                       SULLIVAN & CROMWELL LLP
                       Steven L. Holley (admitted pro hac vice)
                       Stephen Ehrenberg (admitted pro hac vice)
                       Brian D. Glueckstein (admitted pro hac vice)
                       Christopher J. Dunne (admitted pro hac vice)
                       125 Broad Street
                       New York, NY 10004
                       Telephone: (212) 558-4000
                       Facsimile: (212) 558-3588
                       E-mail: holleys@sullcrom.com
                               ehrenbergs@sullcrom.com
                               gluecksteinb@sullcrom.com
                               dunnec@sullcrom.com

                       Counsel for the Debtors
                       and Debtors-in-Possession




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                                Chapter 11

 FTX TRADING LTD., et al.,                           Case No. 22-11068 (JTD)

          Debtors.                                     (Jointly Administered)



 FTX TRADING LTD. and MACLAURIN
 INVESTMENTS LTD.,

 Plaintiffs,

                      -against-
                                                       Adv. Pro. No. 23-50437 (JTD)
 LOREM IPSUM UG, PATRICK GRUHN,
 ROBIN MATZKE, and BRANDON
 WILLIAMS,

                                  Defendants.


       INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(A)(1) OF
   DEFENDANTS LOREM IPSUM UG, PATRICK GRUHN, AND ROBIN MATZKE

       Defendants Lorem Ipsum UG, Patrick Gruhn, and Robin Matzke (“Defendants”), through
undersigned counsel, make these initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1)(A)(i).

                                  PRELIMINARY STATEMENT

        These disclosures were prepared after a reasonable inquiry and are complete and correct as
of this date. Defendants will supplement or modify these disclosures as appropriate if and when
additional information becomes available.

        By producing any documents or identifying any persons likely to have relevant knowledge,
Defendants do not waive any objection that they now have or may hereafter have as to: (a) the
production of documents; (b) the admissibility in evidence at any proceeding of any documents
identified herein; or (c) the knowledge of any witness or testimony disclosed or identified herein.
Defendants also object to the production of, and do not disclose, documents or other information
to the extent the disclosures might otherwise call for attorney-client privileged information or
attorney work product, or otherwise privileged information.




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   I.      DISCLOSURE OF INDIVIDUALS PURSUANT TO FRCP 26(a)(1)(A)(i).

        The following are individuals likely to have discoverable information that Defendants may
use to support their claims and defenses in the above-captioned adversary proceeding (“Adversary
Proceeding”), unless solely for impeachment:

        1.     Patrick Gruhn, c/o The Daley Law Firm LLC, 4845 Pearl East Circle, Suite 101,
Boulder CO 80301, 303-479-3500. Mr. Gruhn may possess discoverable information relating to
the claims and defenses alleged in the Adversary Proceeding. Patrick Gruhn has knowledge
surrounding the initiation of the relationship between Digital Assets DA AG (“DAAG) and
Alameda Ventures Ltd. (which is now known as Maclaurin Investments Ltd.) and FTX Trading
Ltd.; the formation and growth of DAAG; DAAG’s unique business plan; the licensure pursued
and obtained by DAAG; the technology employed by DAAG; DAAG’s relationship with various
crucial regulators; the value of DAAG at the time of the disputed transfers; the negotiations and
ultimate consummation of the disputed transactions; the value of DAAG to Maclaurin Investments
Ltd. and FTX Trading, Ltd.; other offers and interest that third parties had in DAAG; and the
success of DAAG after its ultimate acquisition by FTX Trading, Ltd.

        2.      Robin Matzke, c/o The Daley Law Firm LLC, 4845 Pearl East Circle, Suite 101,
Boulder CO 80301, 303-479-3500. Mr. Matzke may possess discoverable information relating to
the claims and defenses alleged in the Adversary Proceeding. Robin Matzke has knowledge
surrounding the initiation of DAAG’s relationship with Maclaurin Investments Ltd. and FTX
Trading Ltd.; the formation and growth of DAAG; DAAG’s unique business plan; the licensure
pursued and obtained by DAAG; the technology employed by DAAG; DAAG’s relationship with
various crucial regulators; the value of DAAG at the time of the disputed transfers; the negotiations
and ultimate consummation of the disputed transactions; the value of DAAG to Maclaurin
Investments Ltd. and FTX Trading, Ltd.; other offers and interest that third parties had in DAAG;
and the success of DAAG after its ultimate acquisition by FTX Trading, Ltd.

        3.      Brandon Williams, c/o Gebhardt & Smith LLP, One South Street, Suite 2200
Baltimore, MD 21202, 410-752-5830. Mr. Williams may possess discoverable information
relating to the claims and defenses alleged in the Adversary Proceeding. Brandon Williams has
knowledge surrounding the initiation of DAAG’s relationship with FTX Trading Ltd. and
Maclaurin Investments Ltd.; the formation and growth of DAAG; DAAG’s unique business plan;
the value of DAAG at the time of the disputed transfers; the negotiations and ultimate
consummation of the disputed transactions; the value of DAAG to Maclaurin Investments Ltd. and
FTX Trading, Ltd.; and other offers and interest that third parties had in DAAG.

       4.     Ernest Ukaj, address and phone number unknown to Defendants. Mr. Ukaj may
possess discoverable information relating to the claims and defenses alleged in the Adversary
Proceeding. Ernest Ukaj has knowledge surrounding of the formation and growth of DAAG;
DAAG’s unique business plan; the licensure pursued and obtained by DAAG; the technology
employed by DAAG; DAAG’s relationship with various crucial regulators; and the value of
DAAG at or around the time of the disputed transfers.



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        5.     Samuel Bankman-Fried, Metropolitan Detention Center, 80 29th St., Brooklyn, NY
11232, phone number unknown to Defendants. Mr. Bankman-Fried may possess discoverable
information relating to the claims and defenses alleged in the Adversary Proceeding. Sam
Bankman-Fried has knowledge of the allegedly fraudulent schemes in which he conspired at FTX
Trading, Ltd. and/or its affiliates and the inapplicability of same to DAAG; FTX Trading, Ltd.’s
general business operations and plans; FTX Trading, Ltd.’s and Maclaurin Investments Ltd.’s
finances and solvency; FTX Trading Ltd.’s intention with respect to the investment in and
acquisition of DAAG and the group of companies FTX Trading, Ltd. or its affiliates required to
provide similar services in the U.S., e.g., Ledger X, FTX US and Embed; information about the
market share of existing clients of FTX Trading, Ltd. from Europe; information about the
comparable market share in the U.S.; information surrounding the initiation of DAAG’s
relationship with FTX Trading, Ltd.; DAAG’s unique business plan; the licensure pursued and
obtained by DAAG; the technology employed by DAAG; DAAG’s relationship with various
crucial regulators; the value of DAAG at the time of the disputed transfers; the negotiations and
ultimate consummation of the disputed transactions; the value of DAAG to FTX Trading, Ltd.;
other offers and interest that third parties had in DAAG; and the success of DAAG after its
acquisition by FTX Trading, Ltd.

       6.      Nishad Singh, address and phone number unknown to Defendants. Mr. Singh may
possess discoverable information relating to the claims and defenses alleged in the Adversary
Proceeding. Nishad Singh has knowledge of the allegedly fraudulent schemes perpetrated by FTX
Trading, Ltd. and/or its affiliates and the inapplicability of same to DAAG; and the capabilities of
FTX Europe AG to fulfill regulatory technology requirements through its relationship with Kephas
Corp., without the need to use FTX Trading, Ltd.’s technology.

        7.       Can Sun, address and phone number unknown to Defendants. Can Sun may possess
discoverable information relating to the claims and defenses alleged in the Adversary Proceeding.
Can Sun served as counsel for FTX and was involved in the negotiations between Maclaurin
Investments Ltd. and FTX Trading Ltd. and DAAG with respect to the investment in and ultimate
acquisition of DAAG. Can Sun has knowledge about the market share of Europe and the risk of
losing existing clients in Europe if FTX Trading, LTD had no license; the risk of “reverse-
solicitation”; the value of being able to actively solicitate clients in Europe; and the roles and duties
of the individual Defendants.

        8.     Daniel Friedberg, address and phone number unknown to Defendants. Mr.
Friedberg may possess discoverable information relating to the claims and defenses alleged in the
Adversary Proceeding. Daniel Friedberg served as counsel for FTX Trading, Ltd. and was
involved in the negotiations between Maclaurin Investments Ltd., FTX Trading, Ltd. and DAAG
with respect to the investment in and ultimate acquisition of DAAG.

        9.      Martha Labranou, former CEO of K-DNA Financial Services Ltd., address and
phone number unknown to Defendants. Martha Labranou may possess discoverable information
relating to the claims and defenses alleged in the Adversary Proceeding. Martha Labranou served
as the CEO of K-DNA, which became affiliated with FTX Europe AG. Martha Labranou has
knowledge of the value that the DAAG acquisition brought to FTX Trading, Ltd..


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       10.    Marios Athinodorou, former Executive Director of FTX Europe AG, address and
phone number unknown to Defendants. Marios Athinodorou may possess discoverable
information relating to the claims and defenses alleged in the Adversary Proceeding. Marios
Athinodorou has knowledge of the value that the DAAG acquisition brought to FTX Trading, Ltd..

       11.    Max Rhotert, former COO of Crypto Lawyers GmbH (aka Canco GmbH and FTX
Switzerland GmbH), and COO of FTX Europe AG, address and phone number unknown to
Defendants. Max Rhotert has knowledge regarding the negotiations with Binance; Max Rhotert
might also possess documents relevant to FTX Switzerland GmbH and FTX Europe AG; Max
Rhotert has knowledge of the licenses held by DAAG; the value of those licenses in the
marketplace; and the value that the DAAG acquisition brought to FTX Trading, Ltd.

        12.     Michael Kott, CM-Equity AG, Kaufingerstrasse 20, 80331, Munich, Germany,
phone number unknown to Defendants. Michael Kott may possess discoverable information
relating to the claims and defenses alleged in the Adversary Proceeding. Michael Kott has
knowledge about the ability of DAAG to enable investment firms to enter mass retail business for
derivatives, including securities; the value of the DAAG option agreement to acquire CM-Equity;
the licenses possessed by DAAG; and the value of the licenses and business of DAAG.

       13.    Marcel Lotscher, address and phone number unknown to Defendants. Marcel
Lotscher may possess discoverable information relating to the claims and defenses alleged in the
Adversary Proceeding. Marcel Lotscher served as a regulator in Lichenstein for ten years. After
FTX Trading, Ltd.’s acquisition of DAAG, FTX Europe AG hired Marcel Lotscher to work for
FTX EU AG. Marcel Lotscher has knowledge of DAAG’s licensure; the value of that licensure in
the marketplace; and the benefits that DAAG rendered to FTX Trading Ltd. after the acquisition.

        14.    Caroline Ellison, address and phone number unknown to Defendants. Caroline
Ellison may possess discoverable information relating to the claims and defenses alleged in the
Adversary Proceeding. Caroline Ellison has knowledge of the allegedly fraudulent schemes
perpetrated by FTX Trading, Ltd. and/or its affiliates and the inapplicability of same to DAAG;
and the solvency of FTX Trading Ltd. and Maclaurin Investments Ltd. at the time of the disputed
transfers.

       15.     Gary Wang, address and phone number unknown to Defendants. Gary Wang may
possess discoverable information relating to the claims and defenses alleged in the Adversary
Proceeding. Gary Wang has knowledge of the allegedly fraudulent schemes perpetrated by FTX
Trading, Ltd. and/or its affiliates and the inapplicability of same to DAAG; and the solvency of
FTX Trading Ltd. and Maclaurin Investments Ltd. at the time of the disputed transfers.

       16.     Zach Dexter, former CEO of LedgerX, address and phone number unknown to
Defendants. Zach Dexter may possess discoverable information relating to the claims and defenses
alleged in the Adversary Proceeding. Zach Dexter has knowledge about the value of LedgerX
compared to DAAG, the market share of FTX US compared to FTX Trading, Ltd. and FTX Europe
AG in Europe, and the negotiations of the acquisition of LedgerX by FTX Trading, Ltd..



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        17.    Brett Harrison, former CEO of FTX US, address and phone number unknown to
Defendants. Brett Harrison may possess discoverable information relating to the claims and
defenses alleged in the Adversary Proceeding. Brett Harrison has knowledge about the value of
offering SPOT+ throughout the European Economic Area, the market share of FTX US compared
to Europe, and the negotiations of the acquisition by FTX Trading, Ltd.

        18.    Michael Giles former CEO of Embed Financial Technologies Inc., address and
phone number unknown to Defendants. Michael Giles may possess discoverable information
relating to the claims and defenses alleged in the Adversary Proceeding. Michael Giles has
knowledge about the value of offering shares through FTX Trading, Ltd., the market share of FTX
US compared to Europe, and the negotiations of the acquisition of Embed by FTX.

        19.    William Shihara, former CRO of Bittrex, address and phone number unknown to
Defendants. Mr. Shihara may possess discoverable information relating to the claims and defenses
alleged in the Adversary Proceeding. William Shihara served as the CEO for Bittrex at or around
the time of Maclaurin Investments Ltd.’s initial investment in DAAG. William Shihara has
knowledge of discussions with DAAG pertaining to a potential transaction between DAAG and
Bittrex; the value of DAAG at or around the time of FTX Trading Ltd. and/or Maclaurin
Investments Ltd.’s investment in DAAG; and the market potential of DAAG.

        20.      Ryne Miller, Miller Strategic Partners LLP, former General Counsel of FTX
Trading, Ltd. and former partner with Sullivan & Cromwell LLP, address and phone number
unknown to Defendants. Mr. Miller may possess discoverable information relating to the claims
and defenses alleged in the Adversary Proceeding. Ryne Miller served as counsel to FTX Trading,
Ltd. at or around the time of FTX Trading Ltd. and/or Maclaurin Investments Ltd.’s investment
in and acquisition of DAAG. Mr. Miller had knowledge of the European regulatory scheme for
cryptocurrency exchanges and provided FTX Trading, Ltd. with legal advice with respect to such
regulatory schemes in connection with FTX Trading Ltd.’s and Maclaurin Investments Ltd.’s
DAAG investment and acquisition. At or around the same time, Ryne Miller served as counsel for
FTX Trading, Ltd. in connection with the acquisition of Ledger X, a similarly situated company
to DAAG in the United States, and Ryne Miller provided due diligence services in connection with
the Ledger X transaction. Ryne Miller has knowledge of the value that a licensed company with
the ability to service Europe legally to FTX Trading, Ltd.

        21.    Gregory Landegger, Chief Investment Officer, The Whittemore Collection, address
and phone number unknown to Defendants. Gregory Landegger may possess discoverable
information relating to the claims and defenses alleged in the Adversary Proceeding. Gregory
Landegger served as the Chief Investment Officer of the Whittemore Collection at or around the
time of FTX Trading, Ltd.’s investment in and acquisition of DAAG. Gregory Landegger has
knowledge of discussions with DAAG pertaining to a potential transaction between the
Whittemore Collection and DAAG; the value of DAAG at or around the time of FTX Trading’s
acquisition of DAAG; and the market potential of DAAG.

       22.     Wei Zhou, former CFO of Binance, address and phone number unknown to
Defendants. Wei Zhou may possess discoverable information relating to the claims and defenses
alleged in the Adversary Proceeding. Wei Zhou served as the Chief Financial Officer of Binance

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at or around the time of FTX Trading, Ltd.’s acquisition of DAAG. Wei Zhou has knowledge of
discussions with DAAG pertaining to a potential transaction between DAAG and Binance; the
value of DAAG at or around the time of FTX Trading, Ltd.’s acquisition of DAAG; and the market
potential of DAAG.

       23.     David Koa, former head of Binance (Singapore), address and phone number
unknown to Defendants. David Koa may possess discoverable information relating to the claims
and defenses alleged in the Adversary Proceeding. David Koa served as the head of Binance
(Singapore) at or around the time of FTX Trading Ltd.’s acquisition of DAAG. David Koa have
knowledge of discussions with DAAG pertaining to a potential transaction between DAAG and
Binance; the value of DAAG at or around the time of FTX Trading, Ltd.’s acquisition of DAAG;
and the market potential of DAAG.

        24.    Ryan Salame, address and phone number unknown to Defendants. Ryan Salame
may possess discoverable information relating to the claims and defenses alleged in the Adversary
Proceeding. Ryan Salame has knowledge of the allegedly fraudulent schemes in which he
conspired at FTX Trading, Ltd. and/or its affiliates and the inapplicability of same to DAAG; FTX
Tradng Ltd.’s general business operations and plans; FTX Trading Ltd.’s finances and solvency;
FTX Trading, Ltd.’s intention with respect to the investment in and acquisition of DAAG and a
similarly situated company, Ledger X; information surrounding the initiation of DAAG’s
relationship with FTX Trading, Ltd.; DAAG’s unique business plan; the licensure pursued and
obtained by DAAG; the technology employed by DAAG; DAAG’s relationship with various
crucial regulators; the value of DAAG at the time of the disputed transfers; the negotiations and
ultimate consummation of the disputed transactions; the value of DAAG to FTX Trading, Ltd.;
other offers and interest that third parties had in DAAG; and the success of DAAG after its
acquisition by FTX Trading, Ltd.

        25.     Dan Chapsky, address and phone number unknown to Defendants. Dan Chapsky
may possess discoverable information relating to the claims and defenses alleged in the Adversary
Proceeding. Dan Chapsky was Head of Data Science at FTX Trading, Ltd. and has knowledge
about the existing clients and fee income generated from Europe; the market share of clients from
the European Economic Area and the third countries Argentina, British Virgin Islands (BVI),
Brunei, Cayman Islands, China, Egypt, Georgia, Indonesia, Jordan, Kazakhstan, Kuwait, Lebanon,
Malaysia, Mongolia, Montenegro, Panama, Philippines, Qatar, South Korea, South Africa,
Switzerland, Thailand, Turkey, UAE, Ukraine; the relationship with Kephas Corp.; and the
capabilities of FTX Europe AG and Kephas to fulfill regulatory technology requirements.

       26.     Swiss Administrator, Professor Franco Lorandi, Holenstein Brusa Ltd Utoquai
29/31, 8008 Zurich Switzerland, lorandi@hol-law.ch, +41 44 251 84 09. Franco Lorandi may
possess discoverable information relating to the claims and defenses alleged in the Adversary
Proceeding, including the Swiss administrative proceedings against FTX Europe, AG.

       27.     Dr. Kiliam Scharli, LLM, Partner, MLL Legal, Grabenstrasse 2 CH-6340 Baar,
Switzerland, +41 58 552 03 50, kilian.schaerli@mll-legal.com. Dr. Scharli may possess
discoverable information relating to the claims and defenses alleged in the Adversary Proceeding.
Dr. Scharli was counsel to FTX Trading, Ltd. for the acquisition of DAAG.

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         28.     All persons identified by Plaintiffs.

         29.     All persons identified by defendant Brandon Williams.

        30.    Any additional persons about whom Defendants become aware during the course
of discovery. Defendants reserve the right to supplement the foregoing list.

   II.         DISCLOSURE OF DOCUMENTS PURSUANT TO FRCP 26(a)(1)(A)(ii).

        Defendants are in the process of collecting, reviewing, and organizing documents in their
possession that they intend to use in support of their claims and defenses, and intend to produce
such responsive documents in accordance with the discovery schedule approved and ordered by
the Bankruptcy Court. However, Defendants are aware that the following categories of documents
in their possession are likely to be relevant to disputed facts in this Adversary Proceeding. The
categories of documents, electronically stored information and tangible things that are in the
possession, custody or control of Defendants that they may use to support their defenses in this
matter, except those that may be used solely for impeachment, include the following:

         1.      Term sheets, agreements, communications, and payment information related to the
                 DAAG investments and acquisition;
         2.      Communications between Defendants and Samuel Bankman-Fried;
         3.      Term sheets and agreement related to DAAG and CM-Equity business dealings;
         4.      Communications, agreements, payment confirmations, approval letters, curriculum
                 vitae of relevant executives, business plans, organization structure documents
                 related to the K-DNA acquisition;
         5.      Kephas corporate records, employee and contractor reports, and cloud services
                 agreements;
         6.      BDO Assessment of DAAG, pitch deck, and communications regarding DAAG
                 valuation;
         7.      Lorem Ipsum company documents;
         8.      Employment Agreement between Robin Matzke and FTX Trading GmbH;
         9.      Termination Agreement between Robin Matzke and FTX Trading GmbH;
         10.     Fixed Term Employment Agreement between Robin Matzke and FTX EU LTD;
         11.     Communications between Brandon Williams and Ryan Salame;
         12.     Communications regarding Coinbase and FTX Europe AG;
         13.     Payment confirmations;
         14.     Irrevocable Fee Agreement between DAAG and Mohammad Hans Dastmaltchi;
         15.     FTX Exchange FZE Virtual Asset Service Provider License;
         16.     FTX Exchange FZE Virtual Assets MVP Provisional Approval letter;
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          17.     Any documents identified, disclosed or produced by any other party; and
          18.     All rebuttal documents, as necessary.

   Defendants’ investigation into this matter is ongoing, and Defendants reserve the right to
supplement these disclosures as discovery proceeds.

   III.         COMPUTATION OF DAMAGES PURSUANT TO FRCP 26(a)(1)(A)(iii).

          Defendants do not seek damages at this time, but reserve the right to update this response.

   IV.          DISCLOSURE OF INSURANCE PURSUANT TO FRCP 26(a)(1)(A)(iv).

          There is no insurance agreement that may satisfy all or part of a judgment in this action.

Dated: September 27, 2023

                                                THE DALEY LAW FIRM, LLC

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                                                and Robin Matzke
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                                 Chapter 11

 FTX TRADING LTD., et al.,                            Case No. 22-11068 (JTD)

           Debtors.                                     (Jointly Administered)



 FTX TRADING LTD. and MACLAURIN
 INVESTMENTS LTD.,

 Plaintiffs,

                        -against-
                                                        Adv. Pro. No. 23-50437 (JTD)
 LOREM IPSUM UG, PATRICK GRUHN,
 ROBIN MATZKE, and BRANDON
 WILLIAMS,

                                    Defendants.


                           DEFENDANT, BRANDON WILLIAMS’S,
                           INITIAL RULE 26(a)(1) DISCLOSURES

          Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, as made applicable by

Rule 7026 of the Federal Rules of Bankruptcy Procedure and the Scheduling Order (D.I. 8) entered

in this case, Defendant, Brandon Williams, provides the following Initial Rule 26(a)(1) Disclosures

to Plaintiffs, FTX Trading Ltd. and Maclaurin Investments Ltd. The information provided in these

Disclosures is preliminary only and shall not be considered to constitute admissions by Defendant.

          1.     Individuals likely to possess discoverable information.

                 Brandon Williams
                 c/o Gebhardt & Smith LLP
                 1000 N. West Street, Suite 1200
                 Wilmington, DE 19801

          Brandon Williams has knowledge surrounding the initiation of Digital Assets AG’s




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relationship with FTX Trading Ltd. and Maclaurin Investments Ltd. (collectively, “FTX”); the

formation and growth of DAAG; DAAG’s unique business plan; the value of DAAG at the time

of the disputed transfers; the negotiations and consummation of the disputed transactions; the value

of DAAG to FTX; and other offers and interest that third parties had in DAAG.

               Patrick Gruhn
               c/o Heath D. Rosenblat
               Morrison Cohen LLP
               909 Third Avenue, 27th Floor
               New York, NY 10022

       Patrick Gruhn has knowledge surrounding the initiation of DAAG’s relationship with FTX;

the formation and growth of DAAG; DAAG’s unique business plan; the licensure pursued and

obtained by DAAG; the tech stack employed by DAAG; DAAG’s relationship with various crucial

regulators; the value of DAAG at the time of the disputed transfers; the negotiations and

consummation of the disputed transactions; the value of DAAG to FTX; other offers and interest

that third parties had in DAAG; and the success of DAAG after its acquisition by FTX.

               Robin Matzke
               c/o Heath D. Rosenblat
               Morrison Cohen LLP
               909 Third Avenue, 27th Floor
               New York, NY 10022

       Robin Matzke has knowledge surrounding the initiation of DAAG’s relationship with

FTX; the formation and growth of DAAG; DAAG’s unique business plan; the licensure pursued

and obtained by DAAG; the tech stack employed by DAAG; DAAG’s relationship with various

crucial regulators; the value of DAAG at the time of the disputed transfers; the negotiations and

consummation of the disputed transactions; the value of DAAG to FTX; other offers and interest

that third parties had in DAAG; and the success of DAAG after its acquisition by FTX.




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